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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                            CRIMINAL NO. 91-10176-RWZ

                            UNITED STATES OF AMERICA


                                            v.

                                 LEANDRO QUINONES



                                        ORDER
                                     June 24, 2008

ZOBEL, D.J.


      The parties agree that defendant is eligible for a reduced sentence pursuant to

Amendment 706 to the United States Sentencing Guideline § 2D1.1(c). They disagree

as to the applicability of 18 U.S.C. § 3553(a) and the need for a sentencing hearing and

suggest that the court enter a briefing schedule. Accordingly, defendant shall file his

brief on the disputed issues and any others that bear on a revised sentence by July 25,

2008; the government shall counter with its brief by August 22. The court will schedule

argument and later a sentencing hearing if it deems such to be necessary and

appropriate.



       June 24, 2008                                     /s/Rya W. Zobel
         DATE                                             RYA W. ZOBEL
                                                 UNITED STATES DISTRICT JUDGE
